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         ORDERED in the Southern District of Florida on November 13, 2023.



                                                                 Peter D. Russin, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________



                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION
                                            www.flsb.uscourts.gov

         In re:                                                          Chapter 11 Cases

         VITAL PHARMACEUTICALS, INC., et al., 1                          Case No.: 22-17842-PDR

                  Debtors.                                               (Jointly Administered)
                                                            /

                      ORDER DENYING JOHN OWOC’S EXPEDITED MOTION FOR
                              RELIEF FROM THE AUTOMATIC STAY

                  THIS MATTER came before the Court for hearing on October 31, 2023 at 1:30 p.m.,

         and the continued hearing held on November 7, 2023, at 11:00 a.m., in Fort Lauderdale, Florida,

         upon John Owoc’s Expedited Motion for Relief From the Automatic Stay [ECF No. 2016] (the

         “Motion”). The Court, having considered the Motion and the Debtors’ Opposition to John

         Owoc’s Expedited Motion for Relief From the Automatic Stay [ECF No. 2141], having

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           The address of the Debtors is 1600 N. Park Drive, Weston, FL 33326. The last four digits of the
         Debtors’ federal tax identification numbers are: (i) Vital Pharmaceuticals, Inc. (8430); (ii) Bang Energy
         Canada, Inc. (5454); (iii) JHO Intellectual Property Holdings, LLC (0010); (iv) JHO Real Estate
         Investment, LLC (9394); (v) Quash Seltzer, LLC (6501); (vi) Rainbow Unicorn Bev LLC (2254); and
         (vii) Vital Pharmaceuticals International Sales, Inc. (8019).


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considered the argument of counsel, and being otherwise fully advised in the premises, does

thereupon

         ORDER that the Motion is DENIED for the reasons announced on the record.

                                           # # #

Submitted by:
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(Attorney Guso is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




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